Case 2-18-20169-PRW   Doc 102 Filed 05/22/18 Entered 05/22/18 12:13:32   Desc
                        Main Document    Page 1 of 6
Case 2-18-20169-PRW   Doc 102 Filed 05/22/18 Entered 05/22/18 12:13:32   Desc
                        Main Document    Page 2 of 6
Case 2-18-20169-PRW   Doc 102 Filed 05/22/18 Entered 05/22/18 12:13:32   Desc
                        Main Document    Page 3 of 6
Case 2-18-20169-PRW   Doc 102 Filed 05/22/18 Entered 05/22/18 12:13:32   Desc
                        Main Document    Page 4 of 6
Case 2-18-20169-PRW   Doc 102 Filed 05/22/18 Entered 05/22/18 12:13:32   Desc
                        Main Document    Page 5 of 6
Case 2-18-20169-PRW   Doc 102 Filed 05/22/18 Entered 05/22/18 12:13:32   Desc
                        Main Document    Page 6 of 6
